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Piaimirr,

VS.
CR. NO. 04-20442-5

GARLAND |VlANCE,

Detendant.

 

ORDEF{ ON CONT|NUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAY
AND SETTING

 

This cause came on for a report date on April 25, 2005. At that time, counsel for the
defendant requested a continuance of the May 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 With a rem
date of Thursdav. June 23. 2005. at 2:00 p.m., in Courtroorn 1, itth Floor ot the
Federal Bui|ding, |\/iemphis, TN.

The period from |Vlay 13, 2005 through duly 15, 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(iv) because the ends ot justice served in allowing for additional time to
prepare outweigh the need for a speedy trial.

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J DA lEL BREEN \
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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CR-20442 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

